Filed 8/22/24 P. v. Giral CA2/6

     NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                         DIVISION SIX


THE PEOPLE,                                                   2d Crim. No. B329286
                                                           (Super. Ct. No. 2022005875)
     Plaintiff and Respondent,                                  (Ventura County)

v.

RAYMOND GIRAL,

     Defendant and Appellant.


      Raymond Giral appeals from a judgment following a trial at
which the jury found him guilty of four counts of committing a
lewd act upon a child (Pen. Code1, § 288, subd. (a); counts 1-4).
As to counts one through three, the jury found true the allegation
that appellant had substantial sexual contact with the victim.
(§ 1203.066, subd. (a)(8).) The court sentenced appellant to 12
years in state prison.


         1 Undesignated statutory references are to the Penal Code.
       Appellant contends: (1) the evidence was insufficient as to
intent regarding counts 1-3 and the attendant section 1203.066
allegations; (2) the court erred in allowing testimony under the
fresh complaint doctrine; (3) the court improperly admitted
evidence of appellant’s prior convictions and pornography; and (4)
the instruction on child sexual abuse accommodation syndrome
was improper. We will affirm.
         FACTUAL AND PROCEDURAL BACKGROUND
                      Background Information
       Appellant and Serena married in 1990. In March 1999
they had twins, a boy and a girl, J.G. Appellant’s alcohol issues
led to a divorce in 2007. Appellant moved into a condominium,
and the children lived primarily with their mother. Appellant
took the children each Wednesday evening and on alternating
weekends. J.G. slept in a bed with appellant and her brother
slept on the floor.
       After about two years, appellant moved in with his ailing
mother. The children also stayed with appellant at this four-
bedroom house.
       In 2012, appellant moved to Colorado to be with Meredith,
whom he married in 2013. Meredith already had two children,
including a daughter M.H., who was born in 2000. J.G. and her
brother would visit appellant at least twice a year. Every time
she visited appellant in Colorado, J.G.’s stomach would hurt, and
she would vomit the first day she arrived.
       In 2018, Meredith realized appellant’s computer had nude
images of M.H. in her room. Small cameras were later found in
appellant’s nightstand. When Serena told J.G. what had
happened, J.G. began crying and said now everybody will know
appellant molested J.G. That day, J.G. made a report to law
enforcement.




                                2
                               Count 1
       J.G. testified that when she was seven or eight years old
and sleeping at appellant’s condominium, she woke up to find
appellant’s hand in her pants. Appellant had been drinking
alcohol that day. Generally, by the end of a night when appellant
had been drinking, he would be slurring his words and stumbling
over himself.
       On this night, using his fingers, appellant made back and
forth movements on or inside J.G.’s labia. She did not recall
appellant’s fingers entering her vagina. She described appellant
as “asleep” or “unconscious.” “His eyes were closed,” but J.G. was
unsure if he was awake or “actually unconscious.”
                               Count 2
       When J.G. was eight or nine years old, J.G., her brother,
and appellant were watching television on the couch at the home
of appellant’s mother. Appellant was drinking. All three fell
asleep on the couch. J.G. awoke to find appellant’s hand down
her pants. Appellant touched J.G.’s labia; his fingers made the
same back and forth movement. Two or three times, she heard
him lick his fingers before putting them back in her pants. J.G.
pulled his hand out of her pants and moved to sit on a chair.
                  Counts 3 (Touching) &amp; 4 (Kissing)
       About two weeks later, when appellant was under the
influence of alcohol and slurring his words, he made J.G. straddle
him on the bed and tried to teach her to “make out” with him.
Appellant licked J.G.’s lips all over and put his tongue inside her
mouth. When J.G. resisted, appellant grabbed her head and
pulled it back toward him. Incidents like this one occurred two or
three times.
       J.G. also recalled a touching incident in bed with appellant
at his mother’s house. J.G. again awoke to find appellant’s hand




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down her pants. He was rubbing her vagina like before. J.G.
knew it was wrong this time. She pulled his hand out of her
pants and went back to bed.
                           Other Incidents
      When J.G. was about five or six years old, appellant had
her sit on his lap while he showed her pornographic pictures.
J.G. was “confused.”
      When J.G. was around nine or ten, appellant called her into
his room after she had finished a bath. J.G. said she was getting
dressed, and appellant yelled at her to come to his room right
now. She did. Appellant asked J.G. to take off her towel, which
she did not want to do. Appellant said he wanted to see the
woman she was becoming and made her take off the towel. He
looked J.G. up and down and said her pubic hair “was so long
that he could braid it.”
      On another occasion, possibly the same night as the
touching on the couch, appellant spoke to his children while he
was naked from the waist down. Slurring his words, a drunken
appellant told them to go to bed.
      On a visit to Colorado when J.G. was about 13 or 14,
appellant commented that J.G. had grown into a woman and had
a big butt. J.G. felt uncomfortable.
       When J.G. was in college and about 17 or 18, appellant
sent her a text message indicating he was glad she was a virgin
and not sleeping around with boys.
                    J.G.’s Report to Autumn Hall
      The first person J.G. told about appellant’s conduct was
Autumn Hall, her best friend at the time. During a phone call in
eighth or ninth grade, J.G. told Hall appellant had molested her
when she was younger. J.G. did not go into detail. J.G. testified
she was not upset during the call.




                               4
       Hall testified that when she and J.G. were in eighth or
ninth grade, J.G. expressed that appellant had touched her in a
sexually inappropriate manner. Hall recalled that J.G. was
crying and very visually upset, which she could also hear in J.G.’s
voice. Hall could not remember whether the disclosure happened
over the phone or in person.
                   Colorado Incident and Forensics
       In 2019, Appellant pleaded guilty to two counts of sexual
exploitation of a child for surreptitiously video recording his 17-
year-old daughter M.H. He was sentenced to eight years in the
Colorado Department of Corrections.
       Digital forensic investigator Sean Fillmore examined
appellant’s laptop seized in the Colorado case. Fillmore found 19
videos and just under 1,000 images of M.H., not counting
duplicates. He also located web searches and addresses evincing
an interest in young girls. Those included searches on
pornography websites for “very young teen first time” and “young
teen abused.”
       Fillmore examined appellant’s phone. He found videos and
stills of M.H. similar to those on the computer. Fillmore also
located similar pornography searches, including for “very young
sexual punishment,” “cute daughter forced,” and “screw my hot
daughter.”
           Child Sexual Abuse Accommodation Syndrome
       Dr. Anthony Urquiza testified as an expert on Child Sexual
Abuse Accommodation Syndrome (CSAAS). Dr. Urquiza
explained CSAAS is neither a diagnosis for child sexual abuse
nor a mental health disorder. Instead, it is a description of what
occurs with sexually abused children. Dr. Urquiza did not
interview any witnesses or victims in this case, nor did he review
any police reports.




                                 5
                              DISCUSSION
                      Sufficiency of the Evidence
       Appellant argues the evidence was insufficient as to intent
regarding counts 1-3 and the attendant section 1203.066
allegations. We disagree.
       “Our task is clear. ‘On appeal we review the whole record
in the light most favorable to the judgment to determine whether
it discloses substantial evidence—that is, evidence that is
reasonable, credible, and of solid value—from which a reasonable
trier of fact could find the defendant guilty beyond a reasonable
doubt.’” (People v. Cravens (2012) 53 Cal.4th 500, 507.) “In so
doing, a reviewing court ‘presumes in support of the judgment the
existence of every fact the trier could reasonably deduce from the
evidence.’” (People v. Avila (2009) 46 Cal.4th 680, 701.) “‘We do
not reweigh evidence . . . . Resolution of conflicts and
inconsistencies in the testimony is the exclusive province of the
trier of fact.’” (People v. Brown (2014) 59 Cal.4th 86, 106.)
       Section 288, subdivision (a) requires a specific intent “of
arousing, appealing to, or gratifying the lust, passions, or sexual
desires of [the accused] or the child . . . .” (§ 288, subd. (a); People
v. Villagran (2016) 5 Cal.App.5th 880, 890-891.) Section
1203.066 limits the trial court’s sentencing discretion regarding
defendants who, in violating section 288, have substantial sexual
conduct with a victim under 14 years of age. (§ 1203.066, subds.
(a)(8), (b).) “Substantial sexual conduct” under section 1203.066
“refers to certain acts . . . but does not require any kind of specific
intent.” (People v. Garcia (2014) 229 Cal.App.4th 302, 312, fn. 3;
see also People v. Avina (1993) 14 Cal.App.4th 1303, 1313.)
       Substantial evidence supports the jury’s conclusion that
appellant acted with the requisite intent for counts 1-3. Each
time, appellant touched J.G.’s labia. Each time, he moved his




                                   6
fingers back and forth. This repetitive motion, itself repeated on
multiple occasions, indicates intentional sexual behavior. The
touching occurred in the context of appellant sexualizing J.G. for
over a decade, beginning with showing her pornography at five or
six years old and continuing through inappropriate comments in
J.G.’s teenage years. Appellant also forced J.G. to “make out”
with him, conduct which evinces a sexual intent toward J.G. As
does appellant licking his fingers during one touching incident.
       While appellant’s inebriation might run counter to an
intent finding, the jury could reasonably deduce a sexual intent
given the totality of the evidence. The jury found appellant guilty
on all four counts despite receiving an instruction on voluntary
intoxication. We will not invade the jury’s province by
reweighing the evidence to reach a contrary result.
                      Fresh Complaint Doctrine
       Appellant asserts the trial court erred in admitting
Autumn Hall’s testimony under the fresh complaint doctrine. No
error occurred.
       Under the fresh complaint doctrine, “proof of an
extrajudicial complaint, made by the victim of a sexual offense,
disclosing the alleged assault, may be admissible for a limited,
nonhearsay purpose—namely, to establish the fact of, and the
circumstances surrounding, the victim’s disclosure of the assault
to others—whenever the fact that the disclosure was made and
the circumstances under which it was made are relevant to the
trier of fact’s determination as to whether the offense occurred.”
(People v. Brown (1994) 8 Cal.4th 746, 749-750 (Brown).)
       Such evidence is still subject to exclusion under Evidence
Code section 352. (Brown, supra, 8 Cal.4th at p. 763.) The
“‘freshness’” of the complaint is a factor to be considered in ruling
on its admissibility but is not an “essential prerequisite[].” (Id. at




                                  7
pp. 750, 763.) We review for abuse of discretion, “reversing only
if ‘“the trial court exercised its discretion in an arbitrary,
capricious, or patently absurd manner that resulted in a manifest
miscarriage of justice.”’” (People v. DeHoyos (2013) 57 Cal.4th 79,
132; see also People v. Rodriguez (1999) 20 Cal.4th 1, 9-10.)
        J.G.’s complaint to Hall refuted a potential inference that
J.G. spoke of the abuse only upon learning appellant had
recorded M.H. Indeed, appellant argued at trial that the incident
with M.H. likely motivated J.G. to lie about or imagine the
molestation. By refuting the inference of a false contagion effect,
the complaint to Hall corroborated J.G.’s account. The complaint
also generally countered “erroneous inferences that might have
arisen” regarding the delay between the offenses and J.G.’s
report to police. (Brown, supra, 8 Cal.4th at p. 764.) Although
J.G.’s disclosure occurred several years after the final touching, it
also occurred several years before J.G.’s report to police.
        The complaint’s probative value was not substantially
outweighed by the risk of undue prejudice or misleading the jury.
Hall did not recount any details regarding appellant’s conduct.
Hall merely relayed J.G.’s disclosure that appellant had touched
her in a sexually inappropriate manner. Hall’s description of the
disclosure’s emotional valence and impact on her is unsurprising
given its content and was minimally prejudicial. The trial court
did not abuse its discretion.
        Admission of Colorado Convictions and Pornography
        Appellant argues the court erred in admitting his Colorado
convictions, videos and images of M.H., and pornography
searches and websites. The court admitted this evidence under
either Evidence Code section 1101 or 1108, or both. We conclude
reversal is unwarranted.




                                  8
       Evidence Code section 1101 “limits the admissibility of so-
called ‘propensity’ or ‘disposition’ evidence offered to prove a
person’s conduct on a particular occasion.” (People v. Daveggio
and Michaud (2018) 4 Cal.5th 790, 822-823.) This rule does not
prohibit admission of crimes or other acts to prove some other
fact, such as intent. (Evid. Code, § 1101, subd. (b).)
       Evidence Code section 11082 creates an exception to
Evidence Code section 1101. It authorizes admission of evidence
regarding the defendant’s other sexual offenses unless it would
be unduly prejudicial pursuant to Evidence Code section 352.3
Evidence Code section 1108 creates a “presumption in favor of
admissibility . . . .” (People v. Merriman (2014) 60 Cal.4th 1, 59.)
Nevertheless, trial courts “must engage in a careful weighing
process under [Evidence Code] section 352.” (People v. Falsetta
(1999) 21 Cal.4th 903, 917.) Factors the court should consider
include “remoteness, the degree of certainty of its commission[,]
and the . . . similarity to the charged offense.” (Ibid.)
       We review admission under Evidence Code sections 1101,
1108, and 352 for abuse of discretion. (People v. Cordova (2015)


      2 Evidence Code section 1108 states:  “In a criminal action
in which the defendant is accused of a sexual offense, evidence of
the defendant’s commission of another sexual offense or offenses
is not made inadmissible by Section 1101, if the evidence is not
inadmissible pursuant to Section 352.” (Evid. Code, § 1108, subd.
(a).)
      3 Evidence Code section 352 provides that “[t]he court in its

discretion may exclude evidence if its probative value is
substantially outweighed by the probability that its admission
will (a) necessitate undue consumption of time or (b) create
substantial danger of undue prejudice, of confusing the issues, or
of misleading the jury.” (Evid. Code, § 352.)




                                  9
62 Cal.4th 104, 132; People v. Thomas (2023) 14 Cal.5th 327,
358.)
       Appellant’s Colorado convictions were admissible under
Evidence Code sections 1101 and 1108. As to Evidence Code
section 1101, appellant’s convictions for recording M.H. revealed
a sexual intent aimed at his young daughters. Differences in age,
biological relation, and type of conduct toward M.H. and J.G. do
exist. However, “‘[t]he least degree of similarity . . . is required in
order to prove intent.’” (People v. Foster (2010) 50 Cal.4th 1301,
1328.) The conduct need only be sufficiently similar “‘to support
the inference that the defendant “‘probably harbor[ed] the same
intent in each instance.’”’” (Ibid.) Appellant’s conduct toward his
biological daughter and stepdaughter meets this threshold.
       Evidence Code section 1108 likewise authorized admission
of the Colorado convictions. In addition to the similarity in
victim profile, the certainty of commission is beyond dispute
given that appellant pleaded guilty. Nor did an unusually long
period elapse between the offenses against J.G. and M.H.
Appellant’s conduct against M.H. was also less egregious than
the charged conduct against J.G. Appellant has not overcome the
presumption of admissibility under Evidence Code section 1108.
       Like the Colorado convictions, evidence of the images and
videos of M.H. found on appellant’s devices were admissible
under Evidence Code sections 1101 and 1108. The prosecution
was not obliged to rely solely on the antiseptic stipulation of
convictions. (Cf. People v. Johnson (2015) 61 Cal.4th 734, 767.)
       Finally, pornography searches and website visits
demonstrating an interest in youth, forced encounters, and
daughters were admissible under Evidence Code section 1101 to
prove appellant’s intent toward J.G. Pornography need not
perfectly match the charged conduct “to establish relevance on




                                  10
the issue of intent.” (People v. Byers (2021) 61 Cal.App.5th 447,
454.) These types of pornography resembled the charged conduct
closely enough to be admissible. To the extent certain searches
lacked a clear connection to these themes, any error was
harmless under any standard given that J.G.’s compelling
testimony was corroborated both by her disclosure to Hall and
appellant’s other acts.
      As our Evidence Code section 1108 analysis indicates,
evaluating the evidence through the lens of Evidence Code
section 352 does not necessitate reversal. Setting aside the
searches whose admission was at worst harmless error, the risk
of undue prejudice or confusion did not substantially outweigh
any of the remaining evidence’s probative value.
                        CALCRIM No. 1193
      Appellant contends the court erroneously instructed the
jury under CALCRIM No. 1193.4 We disagree.
      Appellant claims the instruction asked for the impossible—
use CSAAS to evaluate J.G.’s believability without using it as


      4 As given in this case, CALCRIM No. 1193 instructed:

“You have heard testimony from Dr. Anthony Urquiza regarding
child sexual abuse accommodation syndrome. [¶] Child abuse
accommodation syndrome relates to a pattern of behavior that
may be present in child sexual abuse cases. Testimony as to the
accommodation syndrome is offered only to explain certain
behavior of an alleged victim of child sexual abuse. [¶] Dr.
Anthony Urquiza’s testimony about child sexual abuse
accommodation syndrome is not evidence that the defendant
committed any of the crimes charged against him or any crimes
or conduct with which he was not charged. [¶] You may consider
this evidence only in deciding whether or not [J.G.’s] conduct was
consistent with the conduct of someone who has been molested,
and in evaluating the believability of the alleged victim.”




                                11
evidence of the crimes. We rejected a similar argument in People
v. Gonzales (2017) 16 Cal.App.5th 494 (Gonzales). In Gonzales,
as here, the CSAAS expert testified that CSAAS is not a tool to
help diagnose child sexual abuse. (Id. at pp. 503-504.) We
concluded “[t]he CSAAS evidence simply neutralizes the victim’s
apparently self-impeaching behavior.” (Id. at p. 504.) “Thus,
under CALCRIM No. 1193, a juror who believes [Dr. Urquiza’s]
testimony will find both that [J.G.’s] apparently self-impeaching
behavior does not affect her believability one way or the other,
and that the CSAAS evidence does not show she had been
molested. There is no conflict in the instruction.” (Ibid.)
       Appellant asserts the “‘consistent with’” language converts
CSAAS into a diagnostic tool by allowing the jury to conclude
“that because J.G.’s conduct was ‘consistent with’ that of sexual
abuse victims, her claims were true.” This argument reiterates
the existence of an internal conflict in the instruction, which
Gonzales rejected as illusory.
       Nor does CALCRIM No. 1193 violate the principle of
impartiality between the parties. The instruction provides for
consideration of CSAAS evidence “in deciding whether or not
[J.G.’s] conduct was consistent with the conduct of someone who
has been molested . . . .” (italics added.) This neutral phrasing
favors neither side. CSAAS evidence and the attendant
instruction serve to “disabuse jurors of commonly held
misconceptions of child sexual abuse . . . .” (Gonzales, supra, 16
Cal.App.5th at p. 503, citing People v. McAlpin (1991) 53 Cal.3d
1289, 1301.) Addressing those misconceptions “neutralizes the
victim’s apparently self-impeaching behavior” (Gonzales, at
p. 504), leaving the parties free to argue and the jury to
determine what the conduct may mean, including that the
behavior (e.g., delay in reporting) could be indicative of falsehood.




                                 12
CALCRIM No. 1193 does not improperly bolster the prosecution’s
case.
                         DISPOSITION
      The judgment is affirmed.
      NOT TO BE PUBLISHED.




                                   CODY, J.


We concur:



     GILBERT, P. J.



     BALTODANO, J.




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                   Anthony J. Sabo, Judge
              Superior Court County of Ventura
               ______________________________

      Theresa Osterman Stevenson, under appointment by the
Court of Appeal, for Defendant and Appellant.
      Rob Bonta, Attorney General, Lance E. Winters, Chief
Assistant Attorney General, Susan Sullivan Pithey, Senior
Assistant Attorney General, Steven D. Matthews, Supervising
Deputy Attorney General, and Rama R. Maline, Deputy Attorney
General, for Plaintiff and Respondent.




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